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                   Feds' Crypto Focus Is No Longer On 'Whack-A-
                   Mole' Cases
                   By Aislinn Keely

                   Law360 (February 23, 2024, 4:55 PM EST) -- The U.S. Department of Justice is no longer
                   playing "whack-a-mole" in its crypto cases, and instead is taking on large-scale actors in
                   the hopes of encouraging industrywide compliance, veteran crypto-focused prosecutors
                   with the Manhattan U.S. attorney's office said Friday.

                   Speaking at a New York City Bar Association event, the heads of the Illicit Finance and
                   Money Laundering Unit in the U.S. Attorney's Office for the Southern District of New York
                   said law enforcement is more strategically focused than ever when determining which
                   crypto cases to bring.

                   There appeared to be a period where law enforcement was playing "a game of whack-a-
                   mole" to keep up with crypto crimes, said Noah Solowiejczyk, deputy chief of the unit.
                   Now, the government is filing its cases with the intention of bringing the broader industry
                   into compliance.

                   "I think U.S. law enforcement is now really thinking strategically, systemically — who are
                   the systemic, important actors that need to come into compliance to make sure that
                   we're not seeing flagrant, massive amounts of sanctions violations, money laundering, all
                   those sorts of things through this technology," said Solowiejczyk, who was involved in the
                   prosecution of disgraced FTX founder Sam Bankman-Fried and the sector's first insider
                   trading case.

                   The Southern District unit is prioritizing Bank Secrecy Act compliance, sanctions
                   enforcement and international anti-money laundering investigations with "systemic-type
                   prosecution that's going to make an industry impact," said Tara La Morte, chief of the
                   Illicit Finance and Money Laundering Unit.

                   "We want the industry to take notice," she told attendees at the New York Bar Association
                   event.

                   La Morte highlighted her office's prosecution of the operators of crypto mixer Tornado
                   Cash, co-founders Roman Storm and Roman Semenov, on charges involving failing to
                   implement anti-money laundering compliance mechanisms and knowingly facilitating
                   transactions by sanctioned entities and other bad actors. Crypto mixers are privacy tools
                   that break down and batch crypto transactions to obscure the path of funds, and can be
                   used for lawful purposes despite being a useful tool for illicit finance.




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                   Prosecutors contend that Tornado Cash operated as an unlicensed money transmitter that
                   aided money launderers and sanctioned entities. Storm has pled not guilty, while
                   Semenov remains at large.

                   "What we're trying to do is sort of bring the industry into compliance, and I think Tornado
                   Cash is an example of that," said La Morte.

                   La Morte and Solowiejczyk said their unit focuses on crypto's so-called on-ramps and off-
                   ramps, or places where funds enter and exit the crypto ecosystem, to identify potential
                   actors for prosecution. At this stage in crypto's development, most people still need to
                   change their tokens to cash in order to use it, said Solowiejczyk. He said it's at those
                   points that operators are required to identify their customers.

                   Compliant operators report that information to regulators. That reporting, combined with
                   the transparency of blockchain transactions, was pivotal to building the Tornado Cash
                   case, said La Morte.

                   "It's on those on-ramps and off-ramps, these critical junctures, where we're able to get
                   information about who was behind transactions," she said. "And from that, if you do
                   tracing — because trace is actually very transparent on the blockchain — that allows us to
                   put the pieces together."

                   To help trace those transactions, the government works with blockchain analytics firms
                   like Chainalysis, which Solowiejczyk said helps "find common trends and commonality" to
                   determine who is behind certain crypto wallets. However, once crypto enters a mixer, it
                   becomes challenging to trace, he said.

                   "The onboarding and offboarding is often where law enforcement is able [to identify
                   actors] because if it's been done properly, at least somebody had to give their
                   identification documents to open up an account," he said.

                   La Morte also noted that new beneficial ownership reporting requirements may prove a
                   boon to law enforcement, though it's a "wait-and-see sort of situation."

                   The U.S. Treasury Department's Financial Crimes Enforcement Network finalized
                   beneficial ownership reporting rules in 2022, which requires businesses to submit
                   information on those who directly or indirectly control a company. It's designed to
                   unmask those behind shell companies, but La Morte noted that the Treasury has already
                   acknowledged that the transition to reporting for many covered entities will be a
                   significant undertaking.

                   Over time, the resulting database could be "very helpful" to law enforcement, La Morte
                   said.

                   In the meantime, collaboration between government agencies, including FinCEN and the
                   Treasury Department's Office of Foreign Assets Control, has been on the rise, La Morte
                   said.

                   "By coming together, we're able to better assess ... what tool or what authority for what
                   agency is going to be best suited to deal with a potential threat or issue that we're faced
                   with," she said.



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